       Case 2:15-cr-00144-MKD            ECF No. 681        filed 12/21/16       PageID.2931 Page 1 of 2
 PROB 12C                                                                           Report Date: December 20, 2016
(6/16)

                                        United States District Court                                  FILED IN THE
                                                                                                  U.S. DISTRICT COURT
                                                                                            EASTERN DISTRICT OF WASHINGTON
                                                        for the
                                                                                             Dec 21, 2016
                                         Eastern District of Washington                          SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Daniel T. Kolle                           Case Number: 0980 2:15CR00144-SMJ-3
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Salvador Mendoza, U.S. District Judge
 Date of Original Sentence: July 21, 2016
 Original Offense:        Conspiracy to Bank Fraud, 18 U.S.C. § 1344 and 1349
 Original Sentence:       Prison 162 days;                   Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Allyson Edwards                    Date Supervision Commenced: July 22, 2016
 Defense Attorney:        Federal Defender’s Office          Date Supervision Expires: July 21, 2019


                                          PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Standard Condition # 9: The defendant will receive instruction from the court or the
                        probation officer about how and when to report to the probation officer, and the defendant
                        must report to the probation officer as instructed.

                        Supporting Evidence: Daniel Kolle failed to report to U.S. Probation as directed, since on
                        or about December 19, 2016, in violation of standard condition number 9 of the terms of his
                        supervised release.

                        On December 13, 2016, the undersigned officer called the offender and left a voice message
                        directing him to call or report to the undersigned officer as he has failed to report to his
                        Washington State Department of Corrections (DOC) community corrections officer as
                        directed, and also failed to report for his random urine test on December 12, 2016. The
                        offender failed to return the undersigned’s call or report to the office to discuss the matter.

                        After numerous telephone calls went unreturned, the undersigned officer attempted to speak
                        with Mr. Kolle at his residence on December 16, 2016. There was no answer at the door.
                        The undersigned officer left a business card on the door of the residence directing the
                        offender to report to the U.S. Probation Office on December 19, 2016, at 11:30 a.m.
     Case 2:15-cr-00144-MKD            ECF No. 681        filed 12/21/16       PageID.2932 Page 2 of 2
Prob12C
Re: Kolle, Daniel T
December 20, 2016
Page 2

                      Mr. Kolle failed to report to the U. S. Probation Office on December 19, 2016. Mr. Kolle’s
                      current whereabouts are unknown to his U.S. probation officer.
          2           Special Condition # 20: Defendant shall abstain from the use of illegal controlled
                      substances, and shall submit to urinalysis and sweat patch testing, as directed by the
                      supervising officer, but no more than 6 tests per month, in order to confirm continued
                      abstinence from these substances.

                      Supporting Evidence: Mr. Kolle failed to report for his random drug test on December 12,
                      2016, in violation of special condition number 20 of the terms of his supervised release.
          3           Special Condition # 21: The defendant shall undergo a substance abuse evaluation and, if
                      indicated by a licensed/certified treatment provider, enter into and successfully complete an
                      approved substance abuse treatment program, which could include inpatient treatment and
                      aftercare upon further order of the Court. The defendant shall contribute to the cost of
                      treatment according to his ability to pay. The defendant shall allow full reciprocal disclosure
                      between the supervising officer and treatment provider.

                      Supporting Evidence: Daniel Kolle failed to attend scheduled substance abuse counseling
                      sessions at Alcohol Drug Education Prevention and Treatment, Inc. (ADEPT) on December
                      9, 12, 13, 16, and 19, 2016.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the offender to
answer the allegations contained in this petition.
                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                            Executed on:     12/20/2016
                                                                             s/Patrick J. Dennis
                                                                             Patrick J. Dennis
                                                                             U.S. Probation Officer



 THE COURT ORDERS

 [   ]    No Action
 [   ]    The Issuance of a Warrant
 [   ]    The Issuance of a Summons
 [   ]    Other
                                                                             Signature of Judicial Officer

                                                                               12/21/2016
                                                                             Date
